         IN THE DISTRICT COURT OF THE UNITED STATES
        FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION

                        CRIMINAL NO. 1:08CR59


UNITED STATES OF AMERICA                )
                                        )
                                        )
           VS.                          )           ORDER
                                        )
                                        )
COOLIDGE KENTAY USSERY                  )
                                        )


     THIS MATTER is before the Court on the Government's motion to

reduce Defendant's sentence pursuant to Rule 35 of the Federal Rules of

Criminal Procedure.

     For the reasons stated therein,

     IT IS, THEREFORE, ORDERED that the Government's motion is

ALLOWED, and the Defendant's sentence is hereby reduced from a term

of 262 months imprisonment to a term of 228 months imprisonment, with

all other terms and conditions of the Judgment of Conviction to remain in

full force and effect. The Clerk of Court shall prepare an amended

Judgment in accordance with the terms herein.




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     The Clerk is directed to transmit this Order electronically to the

United States Attorney, defense counsel, the United States Marshal, the

United States Probation Office, and to the Warden of the federal

correctional facility where the Defendant is currently imprisoned; a copy of

the Order shall be mailed to the Defendant.

                                      Signed: March 16, 2009




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